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05/17/2019 09:08 AM CDT




                                                         - 483 -
                                  Nebraska Supreme Court A dvance Sheets
                                          302 Nebraska R eports
                                    STATE ON BEHALF OF WALTER E. v. MARK E.
                                               Cite as 302 Neb. 483



                               State     of   Nebraska               Walter E.,
                                                          on behalf of
                                  a minor child, appellant, and     Nebraska
                                        Department of Health and Human
                                              Services, appellee, v.
                                               M ark E., appellee.
                                                     ___ N.W.2d ___

                                           Filed March 8, 2019.    No. S-18-436.

                 1. Judgments: Jurisdiction: Appeal and Error. Determination of a juris-
                    dictional issue which does not involve a factual dispute is a matter of
                    law which requires an appellate court to reach its conclusions indepen-
                    dent from a trial court.
                 2. Jurisdiction: Words and Phrases. Subject matter jurisdiction is the
                    power of a tribunal to hear and determine a case in the general class or
                    category to which the proceedings in question belong and to deal with
                    the general subject matter involved.
                 3. Jurisdiction. A lack of subject matter jurisdiction may be raised at any
                    time by any party or by the court sua sponte.
                 4. Jurisdiction: Child Support: Actions. As a prerequisite for an action
                    under Neb. Rev. Stat. § 43-512.03(1)(a) (Reissue 2016), there cannot
                    be an existing child support order in any jurisdiction. Hence, a court
                    has subject matter jurisdiction for an action under § 43-512.03(1)(a)
                    only “when there is no existing child support order” in Nebraska or any
                    other jurisdiction.

                 Appeal from the District Court for Sarpy County: George A.
               Thompson, Judge. Affirmed.
                 Sarah E. Preisinger, Deputy Sarpy County Attorney, for
               appellant.
                    No appearance for appellee Mark E.
                              - 484 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
             STATE ON BEHALF OF WALTER E. v. MARK E.
                        Cite as 302 Neb. 483
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

  Miller-Lerman, J.
                      NATURE OF CASE
   The State of Nebraska on behalf of Walter E. appeals the
order of the district court for Sarpy County which dismissed
the State’s complaint filed against his father, Mark E., to
establish an order of support. The complaint was filed pur-
suant to Neb. Rev. Stat. § 43-512.03 (Reissue 2016). We
conclude that because there was an existing support order,
the district court lacked subject matter jurisdiction under
§ 43-512.03(1)(a) to consider the State’s complaint. We there-
fore affirm the district court’s order which dismissed the
State’s complaint.

                   STATEMENT OF FACTS
   The record on appeal indicates that on February 9, 2016,
the juvenile court ordered Walter to be placed in the custody
of the Nebraska Department of Health and Human Services
(DHHS) with placement at home pending an assessment for
safety and services. In an order filed February 22, the juve-
nile court determined that Walter should be in the protective
custody of DHHS, because although his parents had attempted
numerous therapeutic interventions, he continued to engage
in “extremely aggressive and out-of-control behaviors as well
as self-harming behaviors.” The juvenile court ordered Walter
to be placed in the temporary custody of DHHS, pending an
appropriate placement for treatment. In the February 22 order,
the juvenile court further ordered that “[t]he costs of the child’s
care to the extent not covered by the parent’s insurance shall
be borne by the State of Nebraska.” On March 11, the juvenile
court ordered Walter to be placed at the Boys Town psychiatric
residential treatment facility.
   On July 19, 2016, the juvenile court filed an order in which
it found Walter to be a child within the meaning of Neb. Rev.
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
            STATE ON BEHALF OF WALTER E. v. MARK E.
                       Cite as 302 Neb. 483
Stat. § 43-247(3)(a) (Supp. 2015) and ordered him to remain
in the custody of DHHS for placement at the Boys Town main
campus. The juvenile court further ordered, inter alia, that
DHHS “continue to be responsible for all costs associated with
the Order herein not covered by insurance.” The record on
appeal contains two orders filed by the juvenile court follow-
ing subsequent reviews: one order was filed February 14, 2017,
and the other was filed June 19. In both orders, the juvenile
court ordered Walter to remain in the custody of DHHS for
placement at the Boys Town main campus.
   On June 12, 2017, the State, through a deputy Sarpy
County Attorney, filed a complaint in the district court on
behalf of Walter and against Walter’s father, Mark. The State
alleged that the complaint was filed pursuant to § 43-512.03,
which generally authorizes the county attorney to take certain
actions in connection with child support, including filing a
complaint against a nonsupporting party when there is no
existing child or medical support order. See § 43-512.03(1)(a).
The State alleged that Walter was under the jurisdiction of
the juvenile court, that he had been placed in the custody
of DHHS in an out-of-home placement, that he was in need
of financial support from Mark, and that Mark had a duty
of support for Walter. The State requested an order from the
district court determining that Mark had a duty of support and
ordering Mark to “pay a sum certain each month to meet that
duty of support” and to “provide ongoing medical support
for [Walter].”
   Mark filed an answer in which he alleged, inter alia, that the
juvenile court had placed Walter at Boys Town and had ordered
that the State should be responsible for costs associated with
the placement. He also alleged that he continued to provide
coverage for Walter under his private medical insurance.
   The district court’s child support referee held a hearing on
the State’s complaint and thereafter filed a report finding that
Mark was able to and should pay child support in accord­
ance with the Nebraska Child Support Guidelines. The referee
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
            STATE ON BEHALF OF WALTER E. v. MARK E.
                       Cite as 302 Neb. 483
recommended that Mark be ordered to pay to DHHS child sup-
port of $631 per month beginning September 1, 2017.
   Mark took exception to the referee’s report. Mark asserted
that the district court and referee lacked jurisdiction, because
there was a pending case in the juvenile court and the juvenile
court had already entered support orders specifically requiring
the State to pay support beyond that covered by Mark’s insur-
ance. Mark filed a motion to transfer the matter to the juvenile
court. Mark later filed a motion to dismiss the district court
action for lack of jurisdiction.
   The district court held a hearing on Mark’s motion to dis-
miss, motion to transfer, and exception to the referee’s report.
The district court received evidence, including the juvenile
court orders discussed above. After the hearing, the district
court filed an order on March 13, 2018, in which it dismissed
the State’s complaint and ordered the parties to pay their
own costs.
   In its order of March 13, 2018, the district court stated that
it had examined the juvenile court orders and that the orders
showed that “at each juncture [the juvenile court] has assigned
the costs of care for the child shall be paid by [Mark’s] insur-
ance and to the extent that costs are not covered by insurance,
they shall be paid by the State of Nebraska.” The district court
further stated that the juvenile court had “made findings that
the parents cannot afford appropriate treatment and costs were
waived in that matter.”
   The district court noted that § 43-512.03 authorizes an
action seeking a support order “in cases where there is no
existing child or medical support order.” The district court
determined that there was “an existing order for support as
announced by Juvenile Court.” As part of its order, the dis-
trict court observed that “res judicata” prevented the parties
from relitigating the issues in this action and noted that “the
issue of support has been address[ed] by the Juvenile Court,
the support order has the same finality as in this proceed-
ing, the merits were litigated, and all of the parties are the
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
            STATE ON BEHALF OF WALTER E. v. MARK E.
                       Cite as 302 Neb. 483
same.” The district court finally determined that because the
juvenile court had jurisdiction over Walter and because the
juvenile proceeding was still ongoing, the issue of whether
the matter may or should be transferred to juvenile court
was moot.
   Following the denial of the State’s motion to reconsider, the
State appealed.
                  ASSIGNMENTS OF ERROR
   The State claims, restated and consolidated, that the district
court erred when it dismissed the case based on its determina-
tion that an order of support had been entered by the juvenile
court and that res judicata barred this action. The State alter-
natively claims that the district court erred when it declined to
transfer the action to the juvenile court.
                   STANDARD OF REVIEW
   [1] Determination of a jurisdictional issue which does not
involve a factual dispute is a matter of law which requires an
appellate court to reach its conclusions independent from a trial
court. Retroactive, Inc. v. Nebraska Liquor Control Comm.,
298 Neb. 936, 906 N.W.2d 328 (2018).
                          ANALYSIS
   The State challenges at length the district court’s reliance
on “res judicata” in its order of dismissal. However, as we
explain below, because the action was properly dismissed on a
statutory basis for lack of subject matter jurisdiction, we need
not engage in an analysis of the relevance of the principle of
res judicata.
   [2,3] Subject matter jurisdiction is the power of a tribunal
to hear and determine a case in the general class or category
to which the proceedings in question belong and to deal with
the general subject matter involved. Boyd v. Cook, 298 Neb.
819, 906 N.W.2d 31 (2018). A lack of subject matter jurisdic-
tion may be raised at any time by any party or by the court sua
sponte. Id.                             - 488 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
            STATE ON BEHALF OF WALTER E. v. MARK E.
                       Cite as 302 Neb. 483
   In its complaint, the State alleged that it was filing the
complaint in district court pursuant to § 43-512.03. We note
that § 43-512.03 provides for various types of child sup-
port enforcement actions, including actions for enforcement
of existing child support orders and actions for paternity.
However, the State in its complaint sought an order to estab-
lish Mark’s child and medical support obligations, and there-
fore, it is clear that the State was specifically proceeding
under § 43-512.03(1)(a), which authorizes a county attorney,
on request of DHHS, to “file a complaint against a non-
supporting party in the district, county, or separate juve-
nile court praying for an order for child or medical support
in cases when there is no existing child or medical sup-
port order.”
   [4] In State ex rel. Gaddis v. Gaddis, 237 Neb. 264, 267-68,
465 N.W.2d 773, 775 (1991), we held that “as a prerequisite
for an action under § 43-512.03, there cannot be an existing
child support order in any jurisdiction. Hence, a court has sub-
ject matter jurisdiction for an action under § 43-512.03 only
‘when there is no existing child support order’ in Nebraska
or any other jurisdiction.” See, also, State ex rel. Cammarata
v. Chambers, 6 Neb. App. 467, 574 N.W.2d 530 (1998). We
concluded in Gaddis that because there was an existing child
support order issued in Colorado, the district court lacked sub-
ject matter jurisdiction for an action brought under § 43-512.03
and that therefore, the district court should have dismissed the
proceedings on that basis.
   Recently, in House v. House, 24 Neb. App. 595, 894 N.W.2d
362 (2017), the Nebraska Court of Appeals clarified that the
above-quoted holding in Gaddis applied specifically to a com-
plaint filed under the part of the juvenile statute that is now
found at § 43-512.03(1)(a). The Court of Appeals further clari-
fied that the requirement in § 43-512.03(1)(a) that there be “no
existing . . . support order” did not apply to actions brought
under other subsections of § 43-512.03, such as the one at
issue in House brought under § 43-512.03(1)(c) to enforce an
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
            STATE ON BEHALF OF WALTER E. v. MARK E.
                       Cite as 302 Neb. 483
already existing child support order. We agree with the Court
of Appeals’ analysis in House.
   In this case, the district court determined that there was
already an existing support order issued by the juvenile court
and therefore dismissed the complaint. The district court made
this determination by reviewing the juvenile court orders that it
received into evidence and that we have described above. We
agree with the district court’s determination that “[t]he Juvenile
Court has issued an order of support . . . .”
   On appeal, the State contends that the orders of the juve-
nile court were not general child support orders and that the
juvenile court did not employ child support calculations like
those available in the district court. As discussed below, we
reject the contention that juvenile court orders were not gen-
eral child support orders, and we do not address the State’s
contention that the juvenile court did not employ proper pro-
cedures to determine child support. Instead, we conclude that
the district court lacked subject matter jurisdiction by virtue of
§ 43-512.03(1)(a).
   In the July 19, 2016, order in which the juvenile court
adjudicated Walter to be a child within the meaning of
§ 43-247(3)(a) and ordered him to remain in the custody of
DHHS for placement at the Boys Town main campus, the
juvenile court ordered, inter alia, that DHHS “continue to be
responsible for all costs associated with the Order herein not
covered by insurance.” As did the district court, we read “all
costs” to refer broadly to all necessary support required by the
placement and not limited to medical support.
   For completeness, we note that juvenile courts have author-
ity to order support. Specifically, Neb. Rev. Stat. § 43-290(Reissue 2016), which is part of the Nebraska Juvenile Code,
authorizes a juvenile court to order support to be paid by a par-
ent. Section 43-290 provides in part:
         Pursuant to a petition filed by a county attorney or
      city attorney having knowledge of a juvenile in his or her
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
            STATE ON BEHALF OF WALTER E. v. MARK E.
                       Cite as 302 Neb. 483
      jurisdiction who appears to be a juvenile described in sub-
      division (1), (2), (3), or (4) of section 43-247, whenever
      the care or custody of a juvenile is given by the court to
      someone other than his or her parent, which shall include
      placement with a state agency, or when a juvenile is given
      medical, psychological, or psychiatric study or treatment
      under order of the court, the court shall make a determi-
      nation of support to be paid by a parent for the juvenile
      at the same proceeding at which placement, study, or
      treatment is determined or at a separate proceeding. Such
      proceeding, which may occur prior to, at the same time
      as, or subsequent to adjudication, shall be in the nature of
      a disposition hearing.
   We conclude that the district court did not err when it
determined that there was an existing support order from
the juvenile court. Therefore, under § 43-512.03(1)(a), the
district court did not have subject matter jurisdiction over
the State’s complaint and, consequently, the district court did
not err when it dismissed the complaint. The State asserts
that, in any event, the juvenile court did not follow adequate
procedures to determine the amount of Mark’s support obli-
gation. The State’s attempt to use a separate district court
proceeding to challenge the sufficiency of the juvenile court
proceeding was an impermissible collateral attack, which the
district court lacked jurisdiction to entertain. However, as we
noted above, juvenile courts have authority to enter support
orders, and our decision in this matter does not foreclose
subsequent filings in juvenile court to further consider sup-
port issues.
   Notwithstanding the foregoing analysis, the State alter-
natively claims that the district court erred when it did not
transfer the present action to the juvenile court. However,
we agree with the district court’s reasoning that there was
already an ongoing proceeding in the juvenile court in which
the State was a party and that therefore, the transfer issue
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          Nebraska Supreme Court A dvance Sheets
                  302 Nebraska R eports
            STATE ON BEHALF OF WALTER E. v. MARK E.
                       Cite as 302 Neb. 483
was moot. We conclude that the district court did not err in
this regard.
                       CONCLUSION
   We determine that because there was an existing support
order issued by the juvenile court, the district court did not
have subject matter jurisdiction over the complaint filed by
the State under § 43-512.03(1)(a). We affirm the district
court’s order which dismissed the State’s complaint.
                                                   A ffirmed.
